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                  Exhibit 8
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1                 BEFORE THE UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                                ---oOo---
4
5       SONOS, INC.,              )
                                  )
6                 Plaintiff,      )
                                  )
7       vs.                       ) CASE NO. 3:21-CV-7559 WHA
                                  )
8       GOOGLE, INC.,             )
                                  )
9                 Defendant.      )
        __________________________)
10      GOOGLE, INC.,             )
                                  )
11                Plaintiff,      )
                                  )
12      vs.                       ) CASE NO. 3:21-CV-06754 WHA
                                  )
13      SONOS, INC.,              )
                                  )
14                Defendant.      )
        __________________________)
15
16
17                 REMOTE WEB VIDEOCONFERENCE DEPOSITION
18                       DEPONENT: TOMER SHEKEL
19                          LOCATION: ISRAEL
20                      WEDNESDAY, NOVEMBER 23, 2022
21
22      STENOGRAPHICALLY REPORTED BY:
23      ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~
24      CSR LICENSE NO. 9830
25      JOB NO. 5594467

                                                                       Page 1

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1           Q      Was he your manager for the Google Home                      09:24

2       project?                                                                09:24

3           A      Rishi was my manager from an organization                    09:24

4       point of view.      He was not my manager in the context                09:24

5       of specifically Google Home.       He was just my manager.              09:24

6           Q      Did you have a manager specifically for                      09:24

7       Google Home?                                                            09:24

8           A      No.   There is no -- you know, at least my --                09:24

9       my experience within that team, that there was no                       09:24

10      usually a manager in the specific context of the                        09:24

11      project versus just your manager.                                       09:24

12          Q      What is the difference between Cast for Audio                09:25

13      and Chromecast Audio?                                                   09:25

14          A      Cast for Audio is a program that is meant to                 09:25

15      bring the Google Cast technology -- that is the                         09:25

16      technology that Chromecast, for example, is using --                    09:25

17      to OEM devices, you know, speakers by third-party                       09:25

18      speaker manufacturers.                                                  09:26

19                 Chromecast Audio is how the device we                        09:26

20      developed within Google that also has -- it's not a                     09:26

21      speaker.     It's a device that connects into speakers,                 09:26

22      and also the -- use the same technology of Cast.                        09:26

23                 There are other differences as well, but this                09:26

24      is conceptually a high-level difference.                                09:26

25          Q      What did you do to prepare for your                          09:26

                                                                            Page 29

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1                             CERTIFICATE OF REPORTER
2
3                 I, ANDREA M. IGNACIO, hereby certify that the
4       witness in the foregoing remote deposition was by me
5       remotely sworn to tell the truth, the whole truth, and
6       nothing but the truth in the within-entitled cause;
7                 That said deposition was taken in shorthand
8       by me, a disinterested person, at the time and place
9       therein stated, and that the testimony of the said
10      witness was thereafter reduced to typewriting, by
11      computer, under my direction and supervision;
12                That before completion of the deposition,
13      review of the transcript [ ] was [x] was not
14      requested.     If requested, any changes made by the
15      deponent (and provided to the reporter) during the
16      period allowed are appended hereto.
17                I further certify that I am not of counsel or
18      attorney for either or any of the parties to the said
19      deposition, nor in any way interested in the event of
20      this cause, and that I am not related to any of the
21      parties thereto.
22      Dated: November 28, 2022
23
         <%6345,Signature%>
24       ANDREA M. IGNACIO, RPR, CRR, CCRR, CLR, CSR No. 9830
25

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